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 1 DENNIS I. HERRERA, StateBar#l39669
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 2 CHERYL ADAMS, State Bar #164194
    Chief Trial Deputy                                                        CLERK OF THE COURT
 3 TI!OMAS s. LAKRITZ, State 881' #161234
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          CITY AND COUNTY OF.SAN FRANCISCO
 9

10                                SUPERIOR COURT OF TIIE STATE OF CALIFORNIA

11                                        COUNTY OF SAN FRANCISCO

12                                         UNLIMITED JURISDICTION
13         CITY AND COUNTY OF SAN                      Case No.      CG C-18 - 568 9 5 L!.
           FRANCISCO,
14                                                     COMPLAINTFORBREACBOFCONTRACT
                    Plaintiff,
15
                    vs.                                Type of Case: (06) Breach of Contract
16
           MICHAELE. JOHNSON; FILLMORE
17         DEVELOPMENT CO:MMERCIAL, LLC; EM                       DEMAND FOR JURY TRIAL
           JOHNSON INTEREST, INC.; URBAN CORE
18         DEVELOP:MENT, LLC; and DOE ONE
           through DOE TWENfY, inclUsive,
19
                    Defendants.
20
21
22
23                 Plaintiff CITY AND COUN1Y OF SAN FRANCISCO ("CITY'') complains and alleges as
24 follows ~gainst Defendants MICHAEL E. JOHNSON ("JOHNSON''); FILLMORE DEVELOP:MENT
25        COMMERCIAL, LLC ("FDC"}; EM JOHNSON INTEREST, INC. ("E.IT"); and URBAN CORE

26 DEVELOPMENT, LLC ("UCD"):

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28        Ill
                                                         1
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                                                    INTRODUCTION
     l
                  L     Plainti:ff CITY brings this action against JOHNSON, FDC, Ell, and UCD to recover
     2
         more than $5.5 million that FDC borrowed from CITY, through the San Francisco Mayor's Office of
     3
         Community Development.("MOCD"). As part of the Jo~ Eh, FDC's managing member, executed a
     4
         loan agreement and promissory note on behalf of FDC. EJI also executed a guaranty in the amount of
     5
         $5.5 million as a condition precedent to FDC's loan. JOHNSON created UCD to ''rebrand" Ell's
     6
         activities. JOHNSON is the sole ovvner and manager of FDC, EJI, and UCD. FDC and En failed to
     7
         repay the CITY all amounts due under the"loan agreement, promissory note, and guaranty, and
     8
         continue to fail to repay the CITY. Accordingly, the CITY seeks repayment of the funds loaned to
     9
         FDC and guaranteed by Ell, all remedies available under the loan agreement, promissory note, and
    10
         guaranty, plus accrued interest and penalties, and all other relief allowed by law.
    11
                                                        PARTIES
    12
                  2.    Plaintiff CITY AND COUNTY OF SAN FRANCISCO is a municipal corporation
    13
         organized and existing under and by virtue of the laws of the State of California The CITY, acting
    14
         through MOCD, borrowed $5.5 million from the U.S. Department of Housing and Urban
    15
.        Development ("HUD") in the form of a securitized Section 108 Joan, which was backed· by the CITY' s
    16
         fedei;al Commwtity Development Block Grant ("CDBG'1. MOCD used these funds to loan to FDC.
    17
                  3.    Defendant MICHAEL E. JOHNSON is an individual and at all times alleged in this
    18
         complaint a resident of Alameda County, California According to records maintained by the
    19
         California Secretary of State's Office, JOHNSON is the sole ovvner and manager of FDC, EJI, .aµd
20
         UCD.
    21
                  4.    Defendant FILLMORE DEVELOPMENT COMMERCIAL, LLC, at all times alleged
22
         in this·complaint was a limited liability company organized under the laws of the State of California
    23
         with its principal place of business in San Francisco County, California According to records
24
         maintained by the California Secretary of State's Office, sometime after 2012, FDC's authority to
    25
         operate was suspended for the failure to file the required Statement of Information with the Secretary
26
         of State's Office or the failure to meet Franchise Tax Board requirements.
    27
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 l           5.     Defendant EM JOHNSON INTEREST, INC., at all times alleged in this complaint was
 2   a California Corporation organized under the laws ofthe State of California with its principal place of
 3   business in San Francisco County or Alameda County, California

 4           6.     Defendant URBAN CORE DEVELOPMENT, LLC, at all times alleged in this

 5   complaint was a limited liability company organized under the laws of the State of California with its
 6   principal place of business in Alameda County, California

 7           7.     Defendant MICHAEL E. JOHNSON is an individual, at all relevant times alleged in
 8 this complaint, was a shareholder and/or member of and dominated, controlled, managed and operated
 9   Defendant entities including, but not limited to, FDC, EJI, and UCD, to such an extent that, at all times
1O mentioned in this complaint, there existed a unity of interest and ownership between JOHNSON and
11   FDC, EJI, and UCD. JOHNSON, therefore, was the alter-ego of FDC, EJI, and UCD, and any
12   individuality or separateness of FDC, EJI, and UCD and JOHNSON have ceased. At all times
13   mentioned in this complaint, JOHNSON committed acts establishing his alter ego liability, including,
14 but not limited to the following: the use of Defendant entities as a mere shell, instrumentality, or
15   conduit for a single venture or for his individual business; the disregard oflegal formalities and the
16 failme to maintain arms-length relationships with the Defendant et;itities; and the sole ownership of
17   each Defe~dant entity. As the alter ego of the Defendant entities, JOHNSON orchestrated, ratified,
18   ~d was   otherwise involved in the conduct described in this complaint. Thus, adherence to the fiction
19   of a separate existence of these Defendants as entities separate and distinct from JOHNSON would
20 permit an abuse of the LLC and corporate privileges, and would promote injustice by allowing
21   JOHNSON to evade liability or veil assets that should in equity be used to satisfy the loan agreement,
22 promissory note, and guaranty, accrued interest, penalties, interest, and attorney's fees and costs.

23           8.     CITY is not aware ofthe true names and capacities of Defendants sued herein as DOES

24 ONE through TWENTY, inclusive, and therefore sues these defendants by such fictitious names.
25   Each fictitiously named defendant is responsible in some manner for the unlawful and unfair conduct
26 alleged. CITY will seek leave of court to amend this complaint to all~ge their true names and
27   capacities when that information is ascertained.
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 1          9.      At all times herein mentioned, e~ch Defendant was an agent, servant, employee,
 2   partner, franchisee, and/or joint venturer of each other Defendant, and at all times was acting within .
 3 the course and scope of said agency, service, employment, partnership, franchise, and/or joint venture.
 4          10.     Actions taken, or oipissions made, by Defendants' employees or.agents in the course of
 5 their employment or agency are considered to be actions or omissions of Defendants for the purposes
 6 ofthis first amended complaint:
 7          11.     Whenever reference is made in thi~ first amended complaint to any act or omission of
 8 "Defendants" such allegation shall mean that each Defendant did or authoriz.ed or permitted the act or
 9 omission, or recklessly and carelessly failed to supervise, control, or direct other persons who engaged
1O in the act or omission.

11                                      JURISDICTION AND VENUE

12          12.    Jurisdiction is proper in the Superior Court for the County of San Francisco pursuant to
13 Code of Civil Procedure section 410.10 because the court has general subject matter jurisdiction and
14   no statutory exception exceptions to jurisdiction exist The amount in controversy exceeds the
15 jurisdictional minimum ofthis court.

16          13.    Venue is proper in the Superior Court for the County of San Francisco pursuant to Code
17 of Civil Procedure sections 393 and 395.5 because defendants JOHNSON, FDC, EJI, and UCD
18 transact business within the City and County of San Francisco, and because the loan agreement,
19 promissory note, and guaranty were made and to be Performed within the City and County of San

20   Francisco.

21                                       FACTUAL ALLEGATIONS

22          14.    Upon information and belief, in or about 2004, JOHNSON approached Yoshi's
23   Japanese Restaurant, Inc. (YOSID'S) about expanding its existing business in San Francisco as part of
24 the Fillmore Street redevelopment project, known as the Fillmore Heritage Center, in which
25   JOHNSON was involved as the developer and p'artner ("PROJECT"). The PROJECT was a public-
26 private mixed use development located within the historic Fillmore Jazz Preservation District in San
27 Francisco. An important part of the PROJECT was bringing YOSID'S to San Francisco.
28          15.    As part of the PROJECT, MOCD lent FDC $5.5 million, which was guaranteed by Ell.
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 l            16.   On or about August 29, 2005, CITY and FDC entered into a loan agreement ("LOAN
 2   AGREEMENT"). The proceeds from the LOAN AGREEMENT were to be 1,lSed to construct the
 3   commercial space of the PROJECT. To do~ MOCD borrowed $5.5 million from HUD in the form
 4   of a securitiz.ed Section 108 loan, which was backed by the CITY's federal CDBG. A true and correct
 5 copy ofthe LOAN AGREEMENT is attached as Exhibit A and incorporated into ·this complaint.
 6            17.   On or about August 29, 2005; CITY and FDC executed a promissory note with future
 7   interest rate adjustment ("PROMISSO~YNOTE"). A true and correct copy of the PROMISSORY
 8 NOTE is attached as Exhibit B and incorporated into this complaint.
 9            18.   On or about August 29, 2005, CITY and EJI executed a guaranty ("GUARANTY").
10 Under the GUARANTY, EJI unconditionally guaranteed to CITY the full payment and performance
11   of all then present and future obligations of FDC under the LOAN AGREEMENT and
12   PROMISSORY NOTE. A true and correct copy of the GUARANTY is attached as Exhibit C and
13   incorporated into this complaint.
14            19.   JOHNSON executed the LOAN AGREEMENT, PROMISSORY NOTE, and
15   GUARANTY on behalfofFDC and EJl.
16            20.   CITY fully performed all conditions, covenants, and promises to be performed on the
17   part ofthe CITY under the LOAN AGREEMENT, PROMISSORY NOTE, and GUARANTY.
18            21.   FDC, EJI, and JOHNSON failed to make all pa)rments and perfonn all obligations
19   under the LOAN AGREEMENT, PROMISSORY NOTE, and GU~.
20            22.   On December 8, 2010, CITY agreed to a work~out pl~. which included amending the
21   LOAN AGREEMENT. On December 8, 2010, CITY and fDC executed the FIRST AMENDMENT
22   TO LOAN AGREEMENT and PROMISSORY NOTE. A true and correct copy of the FIRST
23 AMENDMENT TO LOAN AGREEMENT and PROMISSORY NOTE is attached as Exhibit D and
24   incorporated into this complaint.
25            23.   JOHNSON executed the FIRST AMENDMENT TO LOAN AGREEMENT AND
26   PROMISSORY NOTE on behalf of FDC and EJI.

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 I            24.   CITY fully performed all conditions, covenants, and promises to be performed on the
 2 part of the CITY under the FIRST AMENDMENT TO LOAN AGREEMENT AND PROMISSORY
 3 NOTE.
 4            25.   FDC, EJI, and JOHNSON failed to make all payments and perform all obligations

 5 under the FIRST AMENDMENT TO LOAN AGREEMENT, PROMISSORYNOIB, and FIRST
 6 AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE.

 7            26.   On February 20, 2015, the Mayor's Office of Housing and Community Development
 8 ("'MOHCD") sent JOHNSON, FDC, and UCD a notice of default of the LOAN AGREEMENT,
 9   PROMISSORY NOTE, GUARANTY, and FIRST AMENDMENT TO LOAN AGREEMENT AND
10 PROMISSORY NOTE. The February 20, 2015 Notice of Default demanded payment of all
11   outstanding amounts, accrued interest, and fees. A true and correct copy oftt;ie February 20, 2015
12 Notice of Default is attached as Exhibit E and incorporated into this complaint.
13            27.   FDC, EJI, and JOHNSON failed to cure the February 20, 2015 Notice of Default.
14            28.   On October 21, 2015, MOHCD sent JOHNSON a letter demanding that EJI, pursuant

15   to the GUARANTY, pay all outstanding amounts, accrued interest, and fees due under the LOAN
16 AGREEMENT, PROMISSORY NOTE, and FIRST AMENDMENT TO LOAN AGREEMENT AND
17   PROMISSORY NOTE. A true and correct copy of the October 21, 2015 Letter is attached as Exhibit
18   F and incorporated into this complaint.
19            29.   FDC, EJI, and JOHNSON failed to pay all outstanding amounts, accrued interest, and
20   fe~s   due under the LOAN AGREEMENT, PRO:MISSORY NOTE, GUARANTY and FIRST
21   AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE.

22                                      FIRST CAUSE OF ACTION
                                        BREACH OF CONTRACT
23                                     AGAJNST ALL DEFENDANTS

24            30.   Plaintiff CITY incorporates by reference paragraphs 1 through 29, inclusive, against all
25   DEFENDANTS and makes them a part of this cause of action, as though fully set forth herein.

26            31.   CITY fully performed all conditions, covenants, and promises to be performed on the
27 part of the CITY under the LOAN AGREEMENT, PROMISSORY NOIB, GUARANTY and FIRST
28   AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE.
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 1           32.    FDC, En, and JOHNSON failed to make all payments and perform all obligations

 2   under the LOAN AGREEMENT, PROMISSORY NOTE, GUARANTY and FIRST AMENDMENT
 3   TO LOAN AGREE:MENT AND PROMISSORY NOTE.
 4          33.     FDC and FJI breached the LOAN AGREEMENT, PROMISSORY NOTE,

 5 GUARANTY and FIRST AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE
 6 by failing to make timely payments and by failing to pay all outstanding amounts, accrued interest,

 7   and fees upon demand
 8          34.     Although CITY has demanded that JOHNSON, FDC, EJI, and UCD perform all
 9 obligations under the LOAN AGREEMENT, PROMISSORY NOTE, GUARANTY and FIRS!
1O AMEND:MENT TO LOAN AGREEMENT AND PROMISSORY NOTE, Defendants JOHNSON,
11   FDC, EJI. and UCD failed and refused, and continue to failed and refuse to take any steps necessary to
12   fully and completely make timely payments pay all outstanding amounts, accrued interest, and fees.

13          35.    As noted above, JOHNSON is the alter-ego ofFDC, EJI, and UCD.

14          36.     CITY has been damaged in an amount to be proven at trial as a result of JOHNSON

15   FDC, EJI, and UCD's breach of the LOAN AGREEMENT, PROMlSSORY NOTE, GUARANTY
16   and FIRST AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE.

17          37.     CITY's damages are ongoing and increasing due to JOHNSON FDC, EJI, and UCD's
18   breach ofthe LOAN-AGREEMENT, PRO:MlSSORY NOTE, GUARANTY and FIRST

19 AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE.
20                                         PRAYER FOR RELIEF .
21          WHEREFORE, PLAINTIFF CITY prays that:
22          1.     Defendants JOHNSON, FDC, EJI, and UCD, and each of them, be orde~ed to pay to

23   the City all amounts due under the LOAN AGRE~MENT, PRO:MI~SORY NOIB, GUARANTY and
24   FIRST AMENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE;

25          2.     Defendants JOHNSON, FDC, Ell, and UCD, and each of them, be ordered to pay
26 compensatory damages in an amount to be determined at trial;

27          3.     Defendants JOHNSON, FDC, EJI, and UCD, and each ofthem. be ordered to pay
28   prejudgment interest, as allowed by law;
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 1             4.        Defendants JOHNSON, FDC, En, and UCD, and each of them, be ordered to pay the
 2     CITY's reasonable attorney's fees and costs, including expert witness fees, incurred in bringing this
 3 civil action. pursuant to the LOAN AGREEMENT, PROMISSORY NOTE, GUARANTY, FIRST
 4     AivtENDMENT TO LOAN AGREEMENT AND PROMISSORY NOTE, and as allowed by

 5     applicable law;

 6             5.     Defendants JOHNSON, FDC, En, and UCD, and each ofthem, be ordered to pay the
 7     costs of suit; and

 8             6.     Other and further relief be ordered as this Court should find just and proper.

 9                                          JURY TRIAL DEMANDED

10            Plaintiff CITY demands a jury trial on all triable issues.

11     Dated: August 16, 2018
                                                     DENNIS J. HERRERA
12                                                   City Attorney
                                                     CHERYL ADAMS
13                                                   Chief Trial Deputy
                                                     TIIOMAS S. LAKRITZ
14                                                   Deputy City Attorney
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16
                                                        OMASS.LAKRITZ                   ~
17
                                                    Attorneys for Plaintiff
18                                                   CITY AND COUNTY OF SAN FRANCISCO

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